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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                 :
                                          :       Case No. 21-MJ-297-GMH
             v.                           :
                                          :
THOMAS F. SIBICK,                         :
                                          :
                    Defendant.            :


                                          ORDER

       Upon consideration of the Government’s Motion for Emergency Appeal of Release

Order as to defendant Thomas F. Sibick,

       It is this _________ day of March, 2021,

       ORDERED, that the Motion for an Emergency Appeal is hereby GRANTED.




                                          BERYL A. HOWELL
                                          CHIEF JUDGE, UNITED STATES DISTRICT
                                          COURT FOR THE DISTRICT OF COLUMBIA




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